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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA
                                             )
     AMY WAUGAMAN ULERY,
                                             )
                    Plaintiff                )
                                             )
                     v.                      )           Civil Action No. 2:22-cv-1234
                                             )
     JENNIFER BERRIER AND HER                )
     SUCCESSORS, IN THEIR OFFICIAL           )
     CAPACITY AS SECRETARY OF                )
     DEPARTMENT OF LABOR AND                 )
     INDUSTRY, ET AL.,                       )
                                             )
                                             )
                     Defendants.


                                REPORT AND RECOMMENDATION

I.      RECOMMENDATION

        It is respectfully recommended that Defendants’ (ECF No. 15) Motion for Judgment on

the Pleadings be granted in part and denied in part.

II.     REPORT

        A. Relevant Procedural History

        Plaintiff Amy Waugman Ulery initiated this case on August 26, 2022 by filing a Motion

for Leave to Proceed in forma pauperis (ECF No. 1), with a pro se Complaint (ECF No. 1-1)

attached. The Court denied Plaintiff’s Motion to Proceed in forma pauperis in an order issued on

September 28, 2022 (ECF No. 3). In that order, Plaintiff was directed to pay the full filing fee by

November 14, 2022 or the case would be dismissed for failure to prosecute (ECF No. 3). Plaintiff

paid the full filing fee on November 10, 2022 (ECF No. 5) and the Complaint was docketed the

same day (ECF No. 6).

        The Complaint names as Defendants Jennifer Berrier, and her successors, in their official

capacity as Secretary of Department of Labor and Industry, Tom Wolf, and his successors, in their
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capacity as Governor, and Jacqueline Jackson-DeGarcia, and her successors, in their official

capacity as Director of Office Administration, Office of Equal Employment Opportunity (the

“Individual Defendants”); the “Office of Administration, Office of Chief Legal Counsel” and the

“Department of Labor and Industry, Bureau of Disability Determination” (the “Commonwealth

Agencies”); and the Commonwealth of Pennsylvania (the “Commonwealth”) (collectively

“Defendants”).

       On December 7, 2022, Defendants filed both an Answer to the Complaint (ECF No. 14)

and a Motion for Judgment on the Pleadings and Brief in Support (ECF Nos. 15 and 16). Plaintiff

filed a Response on December 20, 2022 (ECF No. 17). Thus, the motion is fully briefed and ready

for disposition.

       B. Relevant Factual Background

       Plaintiff is a Disability Claims Adjuster with the Department of Labor and Industry, an

agency of the Commonwealth of Pennsylvania (ECF No. 6 ¶ 2). She has been in that position

since April 14, 2014 (Id.). On August 11, 2021, Defendant Office of Administration sent an email

to employees that announced “a new incentive to encourage [C]ommonwealth employees to get

the COVID-19 vaccine to protect their coworkers, their families and their communities.”

Employees were advised that “starting on October 1, 2021, state employees under the Governor’s

jurisdiction are eligible to receive one day of paid time off (up to 7.5/8 hours) if they have received

a single dose of the Johnson and Johnson vaccine or both doses of the Moderna or Pfizer-BioNTech

vaccine, regardless of the date of vaccination.” (Id. ¶23 Exhibit 4).

       On October 28, 2021, the Commonwealth entered into an agreement with the Service

Employees International Union (“SEIU”) Local 668, of which Plaintiff is a member. This

agreement provided an additional five days of paid “Verification Leave” to employees “in agencies



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under the Governor’s jurisdiction that have already completed their CDC-approved COVID-19

vaccine regimen as well as those that choose to complete it by December 31, 2021.” (ECF No. 6

¶24, Exhibit 5). The October 28, 2021 agreement between the Commonwealth and SEIU Local

668 also provided that “[e]mployees who wish to pursue a religious or medical accommodation to

be exempted from the requirement to vaccinate…may submit such requests through” the

Employee Self-Service (“ESS”) portal available to employees. (ECF No. 6 ¶24, Exhibit 5).

       On November 21, 2021, Plaintiff received an email sent to all Commonwealth employees

announcing that an additional day of paid Administrative Leave would be available for employees

receiving the COVID-19 vaccination, “making the total leave available [to employees] having

received a COVID-19 vaccination six full days….” (ECF No. 6 ¶26, Exhibit 7).

       Plaintiff then filed a Complaint on November 24, 2021, against former Governor Tom Wolf

with the Pennsylvania Human Relations Commission (“PHRC”), which simultaneously opened a

complaint with the Equal Employment Opportunity Commission (“EEOC”), alleging religious

discrimination and hostile work environment claims. (ECF No. 6 ¶6, Exhibits 9 and 10). On

November 28, 2021, Plaintiff received an email from Sheldon Murray, the Director of EEO

Investigations, Office of Administration, Equal Opportunity Office stating: “[t]his letter is in

reference to the Equal Employment Opportunity discrimination complaint received on November

24, 2021, which was provided to the Bureau of Equal Opportunity Investigations (BEEOI) for

review. Based on a review of the COVID 19 Emergency Paid Sick Leave and information

submitted in the complaint, no stated action has occurred for the Bureau to investigate. Therefore,

BEEOI lacks jurisdiction to investigate this matter and must close this matter.” (Id. ¶ 9, Exhibit

11). The email also advised Plaintiff of her right to file another complaint with the PHRC and the

EEOC within 180 days of the alleged act of discrimination. (Id.).



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       Plaintiff refiled her Complaint with the PHRC on December 14, 2021 in which she asserted

religious discrimination and hostile work environment claims, this time against the

Commonwealth. (ECF No. 6 ¶7, Exhibit 13).

       On January 18, 2022, Plaintiff sent an email via the ESS portal attaching a letter in which

she requested a religious accommodation exemption to the Verification and Administrative Leave

program. (ECF No. 6 ¶32, Exhibit 16). Plaintiff received an email from Defendant Jackson-

Garcia, the Director of the Office Equal Employment Opportunity, Office of the Defendant Office

of Administration the next day. The email stated that “[r]ecently, you submitted a request

regarding the covid-19 vaccine-related incentives and provided information as to why you will not

be vaccinated for covid-19 but believe that you should nevertheless be entitled to incentives.

Please be advised that in accordance with the parameters outlined by the Governor, only employees

who provide verification are eligible for the incentives. As such, you are not eligible for the leave

incentives.” (Id. ¶33 Exhibit 18).

       In response to the Plaintiff’s December 2021 Complaint, the PHRC issued a “Finding of

No Probable Cause” order on December 14, 2021, which stated:

       Complainant…alleges that Respondent discriminated against her because of her religious
       creed (strongly held belief) in violation of 43 P.S. §955 when she was not provided [the
       same] equal incentive payments as her coworkers…Complainant states that she believes
       the incentive to be “coercive” due to it being “enticing”. Incentive programs offered to all
       employees are not an unlawful discriminatory practice under the statute. Voluntary
       programs exist for the promotion of health and disease prevention. The voluntary program
       is designed to provide aggregate and individual benefits by encouraging a safe and healthy
       workplace. Additionally, the “Coercive” nature of wellness programs refers to those
       programs that would be punitive in nature such as deducting wages due to non-participation
       or denying health insurance based on the medical information gathered. “Coercive” refers
       to those programs that require disclosure of disability related information to the employer.
       Vaccination status is not protected information under the statue and a required qualification
       to receive the incentive. Complainant failed to show that she qualified for the incentive
       program. Any employee who fails to disclose vaccination status, regardless of protected
       class, would not be eligible for the program. WHEREFORE, based on the evidence
       described above, the Pennsylvania Human Relations Commission concludes that there is


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         insufficient evidence to support a finding of probable cause. Insufficient evidence exists
         to establish that the Commonwealth of Pennsylvania, Department of Labor and Industry,
         discriminated against Amy Ulery on the basis of religious creed in violation of Section 5(a)
         of the Pennsylvania Human Relations Act.

         (ECF No. 6 ¶10, Exhibit 19).

         Plaintiff then requested a Substantial Weight Review from the EEOC of the February 14,

2022 “Finding of No Probable Cause” order issued by the PHRC. (ECF No. 6 ¶11 Exhibit 21). In

a letter to Plaintiff dated June 1, 2022, the EEOC advised her that: “[w]e have reviewed the

processing of your charge regarding your expressed concerns.                         Our review, including the

information you provided, does not indicate a basis to change the disposition of the charge. If you

wish to pursue your rights further, you may do so by filing in Federal Court using the enclosed

Notice of Right to Sue. If you fail to file suite within 90 days of receipt of the original Notice, your

right to file in these matters will be lost and cannot be restored.” (Id. ¶12 Exhibit 22).

         Thereafter, Plaintiff commenced this action in which she asserts claims for violation of

Title VII of the Civil Rights Act of 1964, 42 U.S.C. §§2000e, et. seq. (“Title VII”). 1

         C. Legal Standard

         In deciding a Rule 12(c) motion for judgment on the pleadings, the Third Circuit has held:

         Under Rule 12 (c), judgment will not be granted unless the movant clearly
         establishes that no material issue of fact remains to be resolved and that he is
         entitled to judgment as a matter of law. In reviewing the grant of a Rule 12 (c)
         motion, we must view the facts presented in the pleadings and the inferences to be
         drawn therefrom in the light most favorable to the nonmoving party.




1
  Although the Plaintiff asserts that this Court has “supplemental jurisdiction over plaintiff’s related claims arising
under state and local laws…” (ECF No. 6 ¶3), a liberal reading of the Complaint, which is entitled “Complaint for
Title VII Employment Discrimination,” does not identify any claim other than one under Title VII. See also ECF
No. 6-1 (citing only 42 U.S.C. §§2000e, et. seq.) Thus, the Court’s evaluation is limited to the Title VII claim stated
in the Complaint.


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Jablonski v. Pan Am. World Airways, Inc., 863 F.2d 289, 290–91 (3d Cir.1988) (internal quotation

marks and citations omitted).

         To defeat a motion to dismiss or motion for judgment on the pleadings, it is sufficient, but

not necessary, to allege a prima facie case. See Martinez v. UPMC Susquehanna, 986 F3d 261,

266 (3d Cir. 2021). The complaint need only allege enough facts to “raise a reasonable expectation

that discovery will reveal evidence of [each] necessary element.” Fowler v. UPMC Shadyside,

578 F.3d 203, 213 (3d Cir. 2009) quoting Phillips v. Cty. of Allegheny, 515 F.3d 224, 234 (3d Cir.

2008).

         D. Discussion

         Defendants’ Motion makes three arguments: (1) that the Individual Defendants should be

dismissed because there is no individual liability under Title VII; (2) that the Agency Defendants

should be dismissed because they are not Plaintiff’s employer; and (3) that Plaintiff has failed to

state a claim under Title VII based on the Commonwealth’s Covid-19 employee vaccine incentive

program. (ECF No. 16 pp. 3-9).

         Plaintiff’s response to the first two arguments is that Title VII abrogated the Individual and

Agency Defendants’ 11th Amendment sovereign immunity. (ECF No. 17 pp. 4-8). Her response

to the third argument is that her Complaint states a valid claim for religious discrimination under

Title VII based on the Commonwealth’s Covid-19 paid leave incentive plan for employees. (ECF

No. 17 pp. 7-18). Each of these arguments will be addressed below.




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           1. The Title VII Claims Against the Individual Defendants (Secretary Barrier, former
              Governor Wolf and Director Jackson-DeGarcia) Should be Dismissed Because
              There is No Individual Liability Under Title VII.

       Defendants first argue that the Individual Defendants are entitled to judgment on all claims

against them because there is no individual liability under Title VII. See, e.g., Barnett v. N.J.

Transit Corp., 573 F.App’x 239, 242 (3d Cir. 2014). They are correct.

       Based on long-standing precedent in this Circuit, there is no individual liability under Title

VII. As held in Sheridan v. E.I. Dupont de Nemors & Company, 100 F.3d 1061, 1078 (3d Cir.

1996), which affirmed the dismissal of a Title VII claim brought by a former employee against her

employer and her former supervisor, “we are persuaded that Congress did not intend to hold

individual employees liable under Title VII.” See also Dici v. Commonwealth of Pennsylvania,

91 F.3d 542, 552 (3d Cir. 1996) (“[f]or the reasons previously given by the court in Sheridan and

other courts of appeals, individual employees cannot be held liable under Title VII.”); Clark v.

Commonwealth of Pennsylvania, 885 F. Supp. 694, 713 (E.D. Pa. 1995) (“Title VII is aimed at

employers….”); Emerson v. Theil Coll., 296 F.3d 184, 190 (3d Cir.2002); and Walker v. Wolf,

2022 WL 2703607, *2 (3d Cir. 2022)(finding that the district court “correctly dismissed

[plaintiff’s] Title VII…claims to the extent he brought them against the Governor and Secretary

of Transportation because only “employers” may be held liable under [Title VII]. [The Statute

does] not provide for individual liability”).

       Although Plaintiff has only brought claims against the Individual Defendants in their

official capacities, this does not change the outcome here. Since Plaintiff has also named the

Commonwealth, which is her employer, as a defendant, official capacity claims against individuals

cannot be brought under Title VII. Foxworth v. Pennsylvania State Police, Civ. 03-6295, 2005 WL

840374, at *4 (E.D. Pa. 2005)(“the only proper defendant in a Title VII case is the “employer”;

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pursuing such claims against individuals in their official capacities would be redundant.”); see also

Gretzula v. Camden Cty. Tech. Schools Bd. of Ed., 965 F. Supp. 478, 486 (D.N.J. 2013) (“[t]his

Court holds that Plaintiff cannot bring a Title VII claim against [his supervisor] in his official

capacity…Title VII provides for liability against employers, not supervisors.”).

        Plaintiff’s sole response to the Individual Defendants’ position is that Title VII abrogated

their 11th Amendment sovereign immunity. This argument misses the mark, however. The

Individual Defendants neither rely upon sovereign immunity nor is it relevant to the issue of

whether an individual defendant can be sued under Title VII. Simply put, Plaintiff has failed to

show that she can advance a claim against the Individual Defendants under Title VII.

        Because Secretary Barrier, former Governor Wolf and Director Jackson-Garcia are

individual employees, they cannot be liable under Title VII. Therefore, it is recommended that

Defendants’ motion for judgment on the pleadings be granted as to the Individual Defendants and

that Plaintiff’s Title VII claim against them be dismissed with prejudice.

           2. The Title VII Claims Against the Office of Chief Legal Counsel for the
              Commonwealth’s Office of Administration and the Bureau of Disability
              Determination Should be Dismissed as These Agencies Are Not the Plaintiff’s
              Employer.

        Title VII claims may be made only against an employer. As Title VII provides in relevant

part:

        It shall be an unlawful employment practice for an employer—

        (1) to fail or refuse to hire or to discharge any individual, or otherwise to
        discriminate against any individual with respect to his compensation, terms,
        conditions, or privileges of employment, because of such individual's race, color,
        religion, sex, or national origin...



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42 U.S.C. § 2000e–2(a) (emphasis added). The statute defines “employer” as “a person engaged

in an industry affecting commerce who has fifteen or more employees ....” Id. § 2000e(b). See

also Sheridan, supra. at pp. 1077-1078.

         Plaintiff identifies the Commonwealth of Pennsylvania as her employer in multiple places

in the Complaint. She alleges that she was hired by the Commonwealth in October 2001 and

remains employed by the Commonwealth. (ECF No. 6 ¶¶ 2, 15). She also appears to rely on the

fact that the Commonwealth has fifteen or more employees as a basis for her Title VII claim. (Id.

¶ 15 fn. 1). There are no allegations in the Complaint that she is employed by the Office of Legal

Counsel for the Commonwealth’s Office of Administration. Similarly, while she alleges that she

was “transferred to her current position of Disability Claims Adjuster (within the Department of

Labor and Industry)” (ECF No. 6 ¶15 (a)), she does not claim to be employed by the Bureau of

Disability Determination in the Department of Labor and Industry.

         As noted above, only employers may be sued under Title VII. 42 U.S.C. §2000e-2(a). As

Plaintiff acknowledges, her employer is the Commonwealth, not any specific department of the

Commonwealth. Accordingly, it is respectfully recommended that the Agency Defendants’

motion for judgment on the pleadings be granted and that the Office of Chief Legal Counsel for

the Commonwealth’s Office of Administration and the Bureau of Disability Determination be

dismissed with prejudice. 2




2
 Plaintiff’s Response (ECF No.17) makes the same argument on this issue it did to the Individual Defendants’
argument on the issue of whether there is individual liability under Title VII – namely that Title VII abrogated the
Commonwealth Agency Defendants 11th Amendment sovereign immunity. For the reasons in stated in Section D.
1, that argument misses the mark and is not substantively responsive to Defendants’ argument on this point.

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            3. Material Issues of Fact Preclude a Motion for Judgment on the Pleadings on
               Plaintiff’s Claim of Religious Discrimination Under Title VII 3
        As noted previously, judgment on the pleadings cannot be granted unless a defendant

shows that no material issue of fact remains to be resolved and that it is entitled to judgment as a

matter of law. See Jablonski, supra. at p. 290-291. Moreover, the court must view the facts

presented in the pleadings and inferences to be drawn therefrom in the light most favorable to the

nonmoving party (id.) and must liberally construe pro se filings. Haines v. Kerner, 404 U.S. 519,

520 (1972).

        Under Title VII, it is an unlawful employment practice for an employer to discriminate

against an individual with respect to conditions of employment because of her religion. 42 U.S.C.

§ 2000e-2(a)(1). Title VII defines “religion” as follows:

        The term “religion” includes all aspects of religious observance and practice, as
        well as belief, unless an employer demonstrates that he is unable to reasonably
        accommodate to an employee’s or prospective employee's religious observance or
        practice without undue hardship on the conduct of the employer's business.

42 U.S.C. § 2000e(j).

        To establish a prima facie case of religious discrimination under Title VII, an employee

must show that she: (1) holds a sincere religious belief that conflicts with a job requirement; (2)

informed her employer of the conflict; and (3) was disciplined for failing to comply with the

conflicting job requirement. EEOC v. GEO Corp. Inc., 616 F.3d 265, 271 (3d Circuit 2010).

However, establishing a prima facie case is an “evidentiary standard, not a pleading requirement.”

Swierkiewicz v. Sorema N.A., 534 U.S. 506, 510 (2002). Thus, since the only factual allegations

in the record about these issues are those pleaded by Plaintiff, the “complaint need only allege




3
 Given the court’s recommendation that the Individual and Commonwealth Agency Defendants should be
dismissed, this section of the Report and Recommendation will refer only to the Commonwealth Defendant.

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enough facts to ‘raise a reasonable expectation that discovery will reveal evidence of [each]

necessary element.’” Martinez v. UPMC Susquehanna, 986 F.3d 261, 266 (3d Cir. 2021).

         The Commonwealth first argues that Plaintiff has not adequately alleged that she “holds a

sincere religious belief that conflicts with a job requirement” (ECF No. 16 p. 8). As an initial

matter, a review of Plaintiff’s Complaint and its exhibits demonstrates that she communicated to

her employer that she held a religious belief regarding the Covid vaccine and explained the nature

of that belief. (See ECF No. 6 ¶32 and Exhibit 15.) 4 There are no contrary factual allegations in

the pleadings. Thus, whether Plaintiff held these religious beliefs and whether they are “sincere”

cannot be determined through a review of the pleadings.

         With respect to Defendants’ contention that the paid leave incentive to obtain a vaccination

was not a “requirement of employment” (ECF No. 16 p. 7), Plaintiff’s Complaint alleges that such

paid leave policy was “implicitly coercive” and thus arguably “a requirement of employment.”

(ECF No. 6 ¶ 39). Thus, this issue is disputed.

         Finally, Defendant argues that Plaintiff was not disciplined for not getting vaccinated (ECF

No. 16 p. 7). However, Plaintiff contends that by being denied the paid leave, she was denied a

“privilege[] of employment.” (ECF No. 6 ¶2).

         Thus, construing the allegations of the Complaint liberally and in the light most favorable

to Plaintiff, sufficient facts are alleged to “raise a reasonable expectation that discovery will reveal

evidence of [each] necessary element” to establish a prima facie case of religious discrimination

under Title VII. Fowler, supra at 213.



4
  In a January 17, 2022 letter to the Commonwealth, Plaintiff states, among other things, that her “sincerely held
religious belief is that God is my creator and would want me to treat my body as his creation and not allow
experimental, potentially deadly treatments to be performed or[sic] his creation.” (ECF No. 6-16, p.4). Her letter goes
on to make other references to her sincere religious beliefs and also includes numerous quotes from the Bible. (Id. at
pp. 5-9.) Defendants’ Answer does not refute these statements.

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       Once a plaintiff establishes a prima facie case, “the burden shifts to the employer to show

that either it made a good-faith effort to reasonably accommodate the religious belief, or such

accommodation would work an undue hardship upon the employer and its business.” Webb v. City

of Phila., 562 F.3d 256, 259 (3d Cir. 2009). If the employer offered a reasonable accommodation,

then “the statutory inquiry is at an end.” Ansonia Bd. of Educ. V. Philbrook, 479 U.S. 60, 68 (1986).

If it did not, then the court evaluates whether the employee’s requested accommodation and

whether the accommodation could cause an undue hardship. Id. at 67. Thus, it is necessary to

examine whether there are material issues of fact regarding the Commonwealth’s contention that

it made a good-faith effort to reasonably accommodate Plaintiff’s religious belief or alternatively,

that such accommodation could cause an undue hardship to the Commonwealth if implemented.

       The first inquiry the court must make in doing this analysis is to determine what constitutes

a “reasonable accommodation.” The plain language of the statute directs employers to “reasonably

accommodate” religious practices, so “Title VII requires otherwise-neutral policies to give way to

the need for accommodation.” EEOC v. Abercrombie & Fitch Stores, Inc., 575 U.S. 768, 765

(2015). An accommodation is reasonable if it “eliminates the conflict between employment

requirements and religious practices.” Ansonia, supra, at p. 70.

        In Ansonia, the Supreme Court analyzed a similar situation to the one at issue here. In that

case, a high school teacher brought a Title VII action for religious discrimination against his

employer. The plaintiff alleged that a collective bargaining agreement between his union and the

school district, which allowed three days of paid leave for religious observance, but not for

personal business, violated Title VII. Plaintiff also alleged that he requested an accommodation

to be provided paid leave for his personal business leave days as he wished to use those days for

religious observance. He further argued that by denying that request and making those leave days



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unpaid, the School District violated Title VII. He also alleged that his religious beliefs prohibited

him from engaging in secular employment on holy days, more than three of which occurred during

the school year. The Supreme Court analyzed the circumstances under which paid and unpaid

leave may constitute a reasonable accommodation of a religious belief under Title VII, finding

that:

         [U]npaid leave is not a reasonable accommodation when paid leave is provided for
         all purposes but religious ones. A provision for paid leave “that is part and parcel
         of the employment relationship may not be doled out in a discriminatory fashion,
         even if the employer would be free…not to provide the benefit at all.” Hishon v.
         King & Spaulding, 467 U.S. 69, 75, 104 S.Ct. 2229, 2233-2234, 81 L.Ed 2d 59
         (1986). Such an arrangement would display a discrimination against religious
         practices that is the antithesis of reasonableness. Whether the policy here violates
         this teaching turns on factual inquiry into past and present administration of the
         personal business leave provisions of the collective-bargaining agreement. The
         school board contends that the necessary personal business category in the
         agreement, like other leave provisions, defines a limited purpose leave. [The
         teacher], on the other hand, asserts that the necessary personal leave category is not
         so limited, operating as an open-ended leave provision that may be used for a wide
         range of secular purposes in addition to those specifically provided for in the
         contract, but not for similar religious purposes. We do not think that the record is
         sufficiently clear on this point for us to make the necessary factual findings…

Id. 71 (emphasis added).

         On the issue of whether a reasonable accommodation was offered to the Plaintiff, the

Commonwealth argues “because Plaintiff was not required to get vaccinated, there was no conflict

between any religious belief held by Plaintiff and a job requirement.” (ECF No. 16 p. 7) (emphasis

in original). In essence, the Commonwealth argues that no accommodation was required since the

paid leave incentive was not a “requirement of employment” but merely a voluntary program to

persuade Commonwealth employees to get the Covid-19 vaccine. Plaintiff responds that the

Commonwealth “made no effort” to offer an accommodation. (ECF No. 6 ¶46). Thus, because

there is a factual dispute about whether a reasonable accommodation was required or ever even

offered, it is premature to resolve this issue at this juncture.


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       The Commonwealth next argues “because the vaccine incentive program was implemented

as part of the Collective Bargaining Agreement applicable to Plaintiff’s position…the

Commonwealth would face undue hardship if they were required to provide Plaintiff with an

accommodation in the form of administrative leave for not being vaccinated where other

employees could only receive such leave if vaccinated.” (ECF No. 16 p. 9). In response, Plaintiff

argues the Commonwealth “lacks the evidence needed and ability to be able to claim and undue

hardship.” (ECF No. 6 ¶46). Indeed, there is no factual evidence in the record that demonstrates

that an undue hardship would have been encountered by the Commonwealth if they had granted

administrative leave to Plaintiff. This issue cannot be resolved at the pleading stage.

       Viewing the factual allegations in the pleadings and the inferences to be drawn therefrom

liberally and in the light most favorable to Plaintiff, and similar to the outcome in Ansonia, there

are material issues of disputed fact about whether the Commonwealth offered Plaintiff a reasonable

accommodation and whether it could have faced an undue hardship if it would have accommodated

her request by granting administrative leave.

       Consequently, given the existence of material issues of fact, it is respectfully recommended

that Defendants’ motion for judgment on the pleadings with respect to Plaintiff’s Title VII

religious discrimination claim against the Commonwealth be denied.

       E. Conclusion

       For these reasons, it is respectfully recommended that the Individual Defendants’ and

Agency Defendants’ motion for judgment on the pleadings be granted and that the following

defendants be dismissed with prejudice:


           •   Jennifer Berrier, and her successors, in their official capacity as Secretary of

               Department of Labor and Industry;

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            •   Tom Wolf, and his successors, in their capacity as Governor;

            •   Jacqueline Jackson-DeGarcia, and her successors, in their official capacity as

                Director of Office Administration, Office of Equal Employment Opportunity;

            •   Office of Administration, Office of Chief Legal Counsel; and

            •   Department of Labor and Industry, Bureau of Disability Determination.

         Dismissal of these Defendants should be with prejudice because amendment would be

futile. “An amendment is futile if the amended complaint would not survive a motion to dismiss

for failure to state a claim upon which relief could be granted.” Alston v. Suzuki, 227 F.3d 107,

121 (3d Cir. 2000). As discussed above, none of the Individual Defendants or the Agency

Defendants are Plaintiff’s employer, and therefore, cannot be liable under Title VII.

         It is further recommended that Defendants’ motion for judgment on the pleadings with

respect to Plaintiff’s Title VII religious discrimination claim against the Commonwealth be denied.

         F. Notice

         In accordance with the Federal Magistrates Act, 28 U.S.C. § 636(b)(1), and Fed. R. Civ. P.

72(b)(2), the parties are allowed fourteen (14) days from the date of service of this Report and

Recommendation to file written objections thereto. Any party opposing the objections shall have

fourteen (14) days from the date of service of objections to respond thereto. Failure to file

objections will waive the right to appeal. Brightwell v. Lehman, 637 F. 3d 187, 193 n.7 (3d Cir.

2011).



Dated: July 11, 2023                                  s/ Patricia L Dodge
                                                      PATRICIA L. DODGE
                                                      United States Magistrate Judge



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